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                          Exhibit 2
     (Total Compensation and Expenses Requested)
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                                Total Compensation and Expenses Requested

Professional Firm                    Category             Hours Fees            Expenses    Total Billed
Stumphauzer Foslid Sloman Ross &
Kolaya, PLLC                         Attorneys              926.6   $297,364.00 $2,005.58    $299,369.58
Pietragallo Gordon Alfano Bosick &
Raspanti, LLP                        Attorneys             2,954.6 $614,983.25 $48,476.31 $663,459.56
Development Specialists, Inc.        Operations Consultant 2,815.1 $1,266,795.00 $2,366.51 $1,269,161.51
Lawgical Insight, LLC                eDiscovery Specialist   181.3    $58,906.25 $4,330.60     $63,236.85
HD Investigative Group, LLC          Investigations Firm     226.3    $50,905.00      $0.00    $50,905.00
Fox Rothschild                       Attorneys                90.7    $33,666.50    $312.00    $33,978.50
                                                           6,557.8 $2,322,620.00 $57,491.00 $2,380,111.00
